IN THE UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION
IN RE: §  CASENO, 19-11177-tmd
DEBORAH KRISTINE HEXUM, :
DEBTOR(S). : CHAPTER 7 PROCEEDING

APPLICATION OF TRUSTEE TO EMPLOY REALTOR AND REQUEST FOR RELIEF (WITH
21-DAY LANGUAGE)

THIS PLEADING REQUESTS RELIEF THAT MAY BE. ADVERSE TO YOUR
INTERESTS.

IF NO TIMELY RESPONSE IS FILED WITHIN TWENTY-ONE (21) DAYS FROM THE
DATE OF SERVICE, THE RELIEF REQUESTED HEREIN MAY BE GRANTED
WITHOUT A HEARING BEING HELD.

A TIMELY FILED RESPONSE IS NECESSARY FOR A HEARING TO BE HELD.

NOW COMES RANDOLPH N. OSHEROW, Chapter 7 Trustee ("Trustee") of the
bankruptcy estate of DEBORAH KRISTINE HEXUM, and files his Application to Employ Realtor
on Sale Real Estate. The Trustee would show the Court the following:

1. On 9/2/19, a voluntary petition was filed initiating this case under Chapter 7 of the
Bankruptcy Code. On 9/3/19, Randolph N. Osherow was appointed Chapter 7 Trustee of Debtor’s
bankruptcy estate and continues to act in that capacity.

2. The Trustee wishes to employ Eric Steinhoff of EXP Realty, of 4416 137 National Plaza Suite 300,
National Harbor, MD 20745, as the authorized Realtor for the Trustee for the sale of the real property
in this case, described as:

3676 Carriage Hil! Drive, Frederick, MD 21704-7351

3, Trustee has selected Eric Steinhoff of EXP Realty, as the Trustee believes that he is
qualified to represent the bankruptcy estate in this proceeding, and it is necessary for the Trustee fo
employ Eric Steinhoff of EXP Realty, for such professional services to sell the real property for the
benefit of the estate,

4, To the best of the Trustee’s knowledge, Erie Steinhoff of EXP Realty, has no connection with
the Debtor, the creditors, or any other party in interest, their respective attorneys and accountants. A

A copy of the proposed Ordet attac
Exhibit "A".

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Verified Statement of Realtor of No Interest Adverse to Estate of Debtor and Disclosure Statement
signed by Eric Steinhoff of EXP Realty, are attached hereto.

5. Trustee proposes to pay Eric Steinhoff of EXP Realty, a 6% commission, plus $395.00 on
the sale of each property, payable at closing, which compensation is not the subject of any agreement
to shave funds “except as to standard real estate earnest money contracts”, that wording of “except as
to the sharing of commission with other Realtors as set out in the Texas Real Estate Cotmmission
promulgated Unimproved Property Contract,

6. No notice or hearing on this Application, need be given,
WHEREFORE, PREMISES CONSIDERED, Trustee prays that he be authorized to employ
Eric Steinhoff of EXP Realty, as Realtor under a listing agreement and pay Eric Steinhoff of EXP

Realty, a 6% commission plus $395.00, on the sale of the two properties listed above, and that an

Order be entered. L O bo hen

Respectfully submitted this _ | day of September, 2019.

/sf Randolph N. Osherow

RANDOLPH N. OSHEROW, Chapter 7 Trustee
Texas State Bar No. 15335500

342 West Woodlawn, Suite 100

San Antonio, Texas 78212

(210) 738-3001 - Telephone

(210) 737-6312 - Telefax

rosherow@botmail.com

 

 

 
IN THE UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

IN RE: § CASE NO, 19-11177-tmd
§
DEBORAH KRISTINE HEXUM, §
| §
DEBTOR(S). § CHAPTER 7 PROCEEDING
ORDER AUTHORIZING EMPLOYMENT OF REALTOR FOR TRUSTEE ON SALE
OF REAL PROPERTY :

On the day this Order was signed, came for consideration the Application of Trustee to
Employ Realtor on Sale of all non-exempt Real Property in this case including but not limited to:

3676 Carriage Hill Drive, Frederick, MD 21704-7351,

and Request for Relief. It appearing that such application is proper and should be granted, it is
therefore ;

EXHIBIT "A"

 

 
ORDERED, ADJUDGED and DECREED that the employment of Eric Steimhoff of EXP
Realty, of 4416 137 National Plaza Suite 300, National Harbor, MD 20745, as Realtor for the estate is hereby
authorized and approved. It is further

ORDERED, ADJUDGED and DECREED that said Realtor shall disclose in said statement
the amount and source of any retainer or any other payment received by said Realtor in connection
with or in contemplation of this case. It is further

ORDERED, ADJUDGED and DECREED that the employment of Eric Steinhoif of EXP
Realty, of 4416 137 National Plaza Suite 300, National Harbor, MD 20745, at 6% compensation plus
$395.00, will be authorized by this Court Order on the sale of all property sold by the realtor in this
case.

HHT

RANDOLPH N, OSHEROW, Chapter 7 Trustee
342 W. Woodlawn, Suite 100

San Antonio, Texas 78212

(210) 738-3001 - Telephone

(210) 737-6312 - Telefax

rosherow@hotmail.com

 

 
IN THE UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION
IN RE; § CASE NO, 19-11177-tmd
DEBORAH KRISTINE HEXUM, :
DEBTOR(S). CHAPTER 7 PROCEEDING

DISCLOSURE OF COMPENSATION
UNDER 11 U.S.C. 329 AND BANKRUPTCY RULE 2016(b)

I certify that Eric Steinhoff of EXP Realty, is the applicant for the position of Realtor for the
Chapter 7 Trustee, Randolph N. Osherow, in the above-styled and referenced cause. No
compensation has been paid to me in connection with the above-referenced case under Title 11 ofthe
United States Code. Application is made herein for a cormmission of 6%, plus $395.00, on the real
property sales. The source of the compensation agreed to be paid is from the proceeds of the
prospective sale of real property of the bankruptcy estate payable upon further order of this Court,

Eric Steinhoff of EXP Realty, presently has not agreed to share this compensation with any
other person or entity BUT this property will be placed for sale in the Multiple Listing services of
Board of Realtors; therefore, the rules of each service dictate that Eric Steinhoff of EXP Realty, co-
op with other Realtors who are members of such services by sharing of the total commission (co-
realtor to receive 2,500%)applicable to be received by Eric. Steinhoff of EXP Realty, if one of those
realtors should procure a Buyer, submit an offer and such offer is accepted by the Court for the
property. ”

Dated this 4° day of September, 2019.

  
  

Signed by:
Eric Steinhoff
EXP Realty
137 National Plaza

Suite 300

National Harbor, MD 20745

Realtor

 

 
IN THE UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION
IN RE: g CASE NO, 19-11177-tmd
DEBORAH KRISTINE HEXUM, :
DEBTOR(S). : CHAPTER 7 PROCEEDING

VERIFIED STATEMENT OF REALTOR
OF NO INTEREST ADVERSE TO ESTATE OF DEBTOR

I, Eric Steinhoff, hereby state that Eric Steinhoff of EXP Realty, has no connection with the
Debtor, creditors, or any other party in interest, their respective attorneys and accountants, other than
I was the listing agent prior to Debtor filing for bankruptcy and Eric Steinhoff of EXP Realty, does
not hold or represent any interest adverse to the bankruptcy estate, and is a disinterested entity within
the meaning of 11 U.S.C. § 327() of the Banknuptey Code.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
correct,

SIGNED this}? __ day of September, 2019,

Signed by: ZAA:

Erie Steinhoff

EXP Realty

137 National Plaza

Suite 300

National Harbor, MD 20745
Realtor

SWORN TO AND SUBSCRIBED before, by the | dea AL _3
by Eric Steinhoff of EXP Realty, who states that the above is. ime and correét, to v4 best of his
knowledge on this ay of September, 2019.

 

 

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STATE OF &

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FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION
IN RE: § CASE NO. 19-11177-tmd
DEBORAH KRISTINE HEXUM, ;
DEBTOR(S). ; CHAPTER 7 PROCEEDING
CERTIFICATE OF MAILING

 

I certify that copies of the APPLICATION OF TRUSTEE TQ EMPLOY REALTOR were

mailed to the below named persons, by first class mail, on this the | yam day of Sere 9:
. O

Deborah Kristine Hexum Susan G. Taylor
109 Cipressi Cove Law Office of Susan G. Taylor
Georgetown, TX 78628 1502 West Avenue
Austin, TX 78701

Debtor(s) Counsel for Debtor
Eric Steinhoff U.S. Trustee
EXP Realty 903 San Jacinto Boulevard
137 National Plaza Suite 230

. Austin, TX 78701
Suite 300 '
National Harbor, MD 20745
Realtor

SEE ATTACHED MATRIX FOR A LIST OF PARTIES SERVED WITH NOTICE.

/s/ Randolph N, Osherow

RANDOLPH N. OSHEROW, Chapter 7 Trustee
342 West Woodlawn, Suite 300

San Antonio, Texas 78212

(210) 738-3001 - Telephone

(210) 737-6312 - Telefax
rosherow@hotmail.com

 

 

 
(@)OFFICE OF GENERAL COUNSEL
801 CHERRY ST UNIT 45
FORT WORTH TX 76102-6882

Affirin Tac
PQ Box 720
San Francisco, CA 94104-0720

Comerstone Home Lending, Inc.

cfo Codilis & Moady, P.C.

400 N. Sam Houston Pkwy &, Suite 900A
Lfouston, TX 77060-3548

Jared & Erica Plununer
3676 Camriage Hill
Frederick, MD 21704-7352

Office of Litigation

US Department of HUD

451 7th Si, SW, Room 10258
Washington, DC 20410-9601

Specialized Loan Servicing/SLS
Atta: Bankruptcy Dept

8742 Lucent Bivd #300

Highlands Ranch, CO 30129-2386

Tower Federat Credit Union

Alt: Bankruptoy

PO Box 123

Annapolis junction, MD 20701-0123

USAA Federal Suvings Bank
Alta: Bankruptcy

10750 Medermoit Freeway
San Antonio,, 1X 78288-1600

Williamson County

c/a Tara LeDay

P.O” Box 1269

Round Rock, TX 78680-1269

(p)DISCOVER FINANCIAL SERVICES LLC
PO BOX 3025
NEW ALBANY OH 43054-3025

Anny Airforce Exchange (AAFES)
Creditor s Bankruptcy Service

PO Box 740933

Dallas, TX 75374-0933

Department of Education

Office of General Counsel

400 Maryland Ave, SW Rm 6E353
Washington, DC 20202-0001

Kohis/Capital One
N56 W 170800 Ridgewood Dr
Menomones Lalls, W1 53051-5660

PRA Receivables Management, LLC
PO Box 41021
Norfolk, YA 23541-1021

Synchrony Bank/Amazon
Atte: Bankrupicy

PO Box 965050

Orlando, FE. 32896-5060

United States Attorney General
Department of Justice

959 Pennsylvania Avenue, N.W.
Washington, DC 20530-0009

VA Regional Office
Office of District Counset
1400 'N. Valley Mills Dr.
Weto, TX 76710-4432

{p)INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATIONS
PO BOX 7346

PHILADELPHIA PA 19101-7346

Comerstone Home Lending
PO Box 77404
Ewing, NI 08628-6404

Department of Housing

& Urban Development (HUD, FHA)
U.S Dept of HUD

451 7th. SW Room 10258
Washington, DC 20410-0901

New Hampshire Higher Bd/Granite State Ma
Altn: Bankruptcy

PO Box 2097

Concord, NH 03302-2097

Small Business Administration (SBA}
U.S. Smail Business Administration
Little Rock Commercial Loan Servicing
Center 2120 Riverfront Drive, Suite 106
Little Rock, AR 72202-1794

Synchrony Bank/Lowes
Altn: Bankruptcy

PO Box 965060
Ortando, FL 32896-5060

United States Department of Justice
United States Attomey, Civil Process Ci
601 N, W. Loop 410, Suite 600

San Antonio, TX 78216-5597

Veterans Administration (VA)
VA Regional Office

Office of Disiriet Counsel
2515 Murworth Drive
Houston, TX 77054-1603

 

 

 

 
